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                        EXHIBIT D
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                                          Masimo’s Proposed Deposition Designations

                                                                                                           Plaintiffs’
                           Plaintiffs’ Direct                          Apple’s Counter-   Plaintiffs’
   Witness       Date                            Apple’s Objections                                     Counter-Counter
                           Designations                                 Designations      Objections
                                                                                                          Designations

             August 11,
David Tom    2022          5:20 - 6:1

                           6:17 - 6:18

                           7:1 - 7:5

                           8:16 - 8:16

                           8:20 - 9:1

                           9:15 - 9:20

                           11:9 - 12:6
                                                                      28:10-16
                           21:8 - 22:4
                                                                      29:2-3; 29:5-11;
                           32:10 - 32:16                              29:19-21; 30:1-6

                           45:22 - 47:7




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                                                                                                                Exhibit D
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